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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     March 29, 2021

VIA E-MAIL

Peter A. Cooper
400 5th Street, NW
Suite 350
Washington, DC 20001

       Re:      United States v. William Robert Norwood III
                Case No. 21-CR-233-EJS

Dear Counsel:

        I will be sharing preliminary discovery in this case using the government’s USAfx File
Exchange System. Although you may review the entire discovery on the shared drive, in order
to retain access to the discovery, you must download it immediately. Once all uploaded
materials are available for download, I will alert you via email. If you have any questions
regarding the provided discovery or are missing something, feel free to call or email me. Please
note that this discovery does not include protective-order materials, but that it is my
understanding that the parties will discuss an agreed-upon protective order for future disclosures.
The preliminary discovery available to you via USAfx contains the following materials:

   •   Audio recording of February 26, 2021 post-arrest interview
   •   Photos from FBI search of NORWOOD’s box trailer
   •   Photos from FBI search of NORWOOD’s vehicle
   •   Screenshots of NORWOOD from U.S. Capitol CCTV footage and open source media
   •   Screenshots of Facebook messages sent by NORWOOD
   •   Transcript from NORWOOD’s initial appearance in the District of South Carolina

        Due to the extraordinary nature of the January 6, 2021 Capitol attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
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similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1. Additional materials will be
provided after the entry of a Protective Order in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Hava Mirell

                                                      Hava Mirell
                                                      Assistant United States Attorney
                                                      Detailee




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